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                  IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                    NO. 4:07CR00247-002       SWW

TERRENCE LAMONT MCGHEE


                                       ORDER

      The above entitled cause came on for hearing on government’s petition to

revoke the supervised release [doc #128] previously granted this defendant in the

United States District Court for the Eastern District of Arkansas.          Based upon

the admissions of defendant, the Court found that defendant has violated the

conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked.

      IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of

FIVE (5) MONTHS in the custody of the Bureau of Prisons.

      There will be TWO (2) YEARS of supervised release following the term of

incarceration and shall include the following special conditions:

             1. Defendant shall participate, under the guidance and supervision
of the U. S. Probation Officer, in a substance abuse treatment program which may
include testing, out-patient counseling, and/or residential treatment followed
by chem-free living. Further, defendant shall abstain from the use of alcohol
throughout the course of any treatment.

            2. Defendant shall maintain or be actively seeking employment.

            3.    Restitution of $35,526.72, as specified in the Judgment &
Commitment [doc #112], is mandatory during incarceration and supervised release
to be payable as follows: the defendant will pay 50% per month of all funds that
are available to him. During residential reentry placement, payments will be
reduced to 10% of the defendant’s gross monthly income. Following release from
the residential reentry center, payments will continue to be 10% per month of the
defendant’s monthly gross income for the balance of the term of supervised
release. The interest requirement is waived.

      IT IS SO ORDERED this 11th    day of June 2009.

                                               /s/Susan Webber Wright

                                               United States District Judge
